






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00218-CV

NO. 03-07-00219-CV






In re Koo-Hyun Kim






NO. 03-07-00243-CV






In re John Koo Hyun Kim







ORIGINAL PROCEEDINGS FROM TRAVIS COUNTY





M E M O R A N D U M   O P I N I O N


	On April 16, 2007, and April 20, Relator filed three documents that were titled,
"Notice of Appeal," but that named as "appellees" the trial court judges and the opposing attorneys. 
Out of an abundance of caution, this Court docketed relator's causes as both petitions for writ of
mandamus, based on his reference to the trial courts as the opposing parties (docketed as the cause
numbers listed above), and appeals, due to his titling the documents as notices of appeal (docketed
as cause numbers 03-07-00223-CV, 03-07-00224-CV, and 03-07-00267-CV).  On April 30, we sent
relator a letter asking him to clarify for this Court whether he was pursuing appeals or original
proceedings and to file amended notices of appeal or petitions for writ of mandamus that comply
with the Texas Rules of Appellate Procedure.  Although relator has not filed amended notices of
appeal that conform with Texas Rule of Appellate Procedure 25.1 (1) as requested, he has informed this
Court that he intended to file notices of appeal, not petitions for extraordinary relief.  Therefore, we
dismiss these three cause numbers that were assigned as original proceedings.  Relator's appeals in
cause numbers 03-07-00223-CV, 03-07-00224-CV, and 03-07-00267-CV will proceed under the
Texas Rules of Appellate Procedure.


					__________________________________________

					David Puryear, Justice


Before Chief Justice Law, Justices Puryear and Waldrop

Filed:   May 18, 2007
1.   Relator, representing himself pro se, is hampered by a lack of legal training and familiarity
with the Texas Rules of Appellate Procedure.  This does not, however, relieve relator of the
obligation to comply with the rules.  See Mansfield State Bank v. Cohn, 573 S.W.2d 181, 184-85
(Tex. 1978) ("Litigants who represent themselves must comply with the applicable procedural
rules."); Strange v. Continental Cas. Co., 126 S.W.3d 676, 677-78 (Tex. App.--Dallas 2004, pet.
denied) (pro se litigants held to same standards as attorneys and must comply with applicable laws
and procedural rules).


